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UNITED STATES DISTRICT COURT FFLED fi`t_m,________D.C.
WESTERN DISTRICT OF TENNESSEE
Eastern Division 05 AUG 23 Pl‘l 33 30
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aaa t;n.§,;;}si_ae must
-vs- Case lWQ.Ui:l(lSilflr{:l§Wl'SS-GOIT

JAl\/IAINE MARDELL TIPLER

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlNDlNGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(1‘), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis ofthe matters enumerated in 18 U.S.C.
§ 3142(§) as stated on the record in open court at the detention hearing

DlRECT|ONS REGARD|NG DETENT|ON

JAMAINE MARDELL TIPLER is committed to the custody of the Attoriiey General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. JAMAINE MARDELL TIPLER shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a Court of the United States or on
request of an attorney for the government the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection with a Court proceedingl

bare August 23, 2005 S/U’_t_t/\/Vl/?v @\

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket sheet ln compliance
with Rula 55 and/or 32{b) FRCrP on

to

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
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Honorable .l ames Todd
US DISTRICT COURT

